                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                     )
Husband and Wife,                                    )
                                                     )
               Plaintiffs,                           )
                                                     )
v.                                                   )      Civil Action No.: 3:17-cv-00725
                                                     )
DR. CLARK ARCHER and HCA                             )      Jury Demand
HEALTH SERVICES OF TENNESSEE, INC.                   )      Judge Crenshaw
d/b/a STONECREST MEDICAL CENTER,                     )      Magistrate Judge Newbern
                                                     )
               Defendants.                           )

    REPLY BRIEF IN SUPPORT OF HCA HEALTH SERVICES OF TENNESSEE, INC.’S
                      MOTION FOR SUMMARY JUDGMENT

         HCA Health Services of Tennessee, Inc. d/b/a StoneCrest Medical Center

(“StoneCrest”), in compliance with the Initial Case Management Order,1 files this Reply

Brief in Support of its Motion for Summary Judgment. Summary judgment is in order.

         UNDISPUTED FACTS ENTITLE STONECREST TO SUMMARY JUDGMENT

         Whether Mr. Ruffino’s left middle cerebral artery was closed by a long-standing

occlusion - long before he presented to Stonecrest on the morning of February 17, 2016

- is the, central, material fact.        If so, tissue plasminogen activator (tPA), and

endovascular thrombectomy, alone, or in combination, would not restore blood flow.2

         Jodi Dodds, M.D. is the director of the Duke University Hospital Regional Stroke

Center. She is an assistant professor of Neurology in the Division of Stroke and



1
 Doc. No. 20.
2
  Affidavit of Jodi Dodds, M.D., Doc. 41-2, at ¶16 (“On February 17, 2016, given the long-standing
complete, or nearly complete occlusion, in the M1 segment of Mr. Ruffino’s left MCA, a thrombectomy
would not have been appropriate. A thrombectomy is not indicated to excavate a fixed lesion. Tissue
plasminogen activator was not indicated and would not have opened that vessel.”).



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Neurocritical Care at Duke University Medical Center.3 Dr. Dodds is qualified to offer

admissible opinions on the issues of standard of care and causation.4

        John Ruffino underwent a diagnostic test known as a Magnetic Resonance

Angiogram (MRA) on December 23, 2015 at University Medical Center.5

        Dr. Dodds reviewed that critically important diagnostic study.6                         That test

confirmed blockage in Mr. Ruffino’s left middle cerebral artery (MCA), which was either

completely occluded, or 99% stenosed, such that there was no appreciable flow of

blood through that major vessel two (2) months before he first presented to Stonecrest.7

        Troy Pope, M.D. and Alfred Callahan, M.D.8 did not review the Magnetic

Resonance Angiogram study of December 23, 2015. Neither witness reviewed the

affidavit of Dr. Dodds.9 Not once does Dr. Pope or Dr. Callahan address Dr. Dodds’

material opinion that “no intervention was appropriate or indicated for Mr. Ruffino on the

morning of February 17, 2016 given that the M1 segment of his left MCA had been

completely occluded or significantly stenosed since at least December 23, 2015.”10

        The Plaintiffs’ claim that the unpublished Cadmus decision disables any motion

for summary judgment with the simple expedient of filing an affidavit, irrespective of

content, or qualifications of the witness. That simplistic hyperbole is incorrect.




3
  Doc. 41-2 at page 7.
4
  Plaintiffs’ response to Undisputed Statement of Material Fact #19, Doc. 47, at page 7.
5
  Response to Statement of Undisputed Material Fact # 3, Doc. 47, at page 3.
6
  Plaintiff’s counsel failed to request or obtain these studies during presuit. StoneCrest requested them in
October 2017 and free copies of these studies were provided to Plaintiff in early November 2017.
7
  Response to Statement of Undisputed Material Facts #4-6, Doc. 47, at pages 3-4.
8
  Opinion witnesses now offered by the Plaintiffs.
9
  Troy Pope, M.D., at ¶4, Doc. 46-1, at pages 1-2; Alfred Callahan, M.D., at ¶4, Doc. 46-2, at pages 1-2.
10
   Affidavit of Jodi Dodds, M.D., Document 41-2, at paragraph 16, page 4.


                                                    2
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         A plaintiff cannot survive a pending motion for summary judgment with an alleged

expert’s conclusory opinion on the ultimate issue (here, whether Mr. Ruffino’s pre-

existing occlusion excluded tPA or a thrombectomy as a possible treatment option).11

         The opponent must “come forward with specific facts” and show there is a

genuine issue for trial.12 To make out a genuine issue, a plaintiff must present probative

evidence tending to support her version of the facts, upon which a reasonable jury could

return a verdict for her.13 Where the record taken as a whole could not lead a rational

trier of fact to find for the nonmoving party, there is no genuine issue for trial.14

         A party opposing a motion for summary judgment is not at liberty to ignore

inconvenient material facts.15 Submitting affidavits from physicians meeting minimal

state competency standards is not enough.16 When an expert opinion is not supported

by sufficient facts to validate it in the eyes of the law, or when indisputable record facts

contradict or otherwise render the opinion unreasonable, it cannot support a verdict.17

         Despite the submission of a response to the StoneCrest Motion for Summary

Judgment, there remains no genuine issue as to the defining material fact - Mr.


11
  Hirsch v. CSX Transp., Inc., 656 F.3d 359, 363 (6th Cir. 2011)(noting that even when an expert’s
evidence is ruled admissible under the Daubert standards, a District Court remains free to decide that the
evidence amounts to no more than a scintilla); see also Williams v. Ford Motor Co., 187 F.3d 533, 543-
544 (6th Cir. 1999)(“We are not willing to allow the reliance on a bare ultimate expert conclusion to
become a free pass to trial every time that a conflict of fact is based on expert testimony...”).
12
   Chappell v. City Of Cleveland, 585 F.3d 901, 912 (6th Cir. 2009). Local Rule 56.01(c) is to the same
effect. The opponent of the motion for summary judgment must demonstrate (not claim) the fact is
disputed, “supported by a specific citation to the record.” Implicit in that requirement is attention to the
record as a whole. Plaintiffs cannot elect to ignore inconvenient facts material to the case.
13
   Chappell, 585 F.3d at 913 (emphasis in original); Webb v. U.S., 789 F.3d 647, 661 (6th Cir. 2015).
14
   Hirsch, 656 F.3d at 361 (6th Cir. 2011).
15
   Local Rule 56(e). Upon a failure to properly address another party’s assertion of fact, the Court may
consider the fact undisputed, and grant summary judgment.
16
   Pride v. BIC Corp. 218 F.3d 566, 575 (6th Cir. 2000)([“I[n determining whether an issue of fact is
genuine and material, the Court must decide whether the evidence is such that ‘reasonable jurors could
find by a preponderance of the evidence that the non-moving party is entitled to a verdict, or whether the
evidence is so one-sided that the [moving party] must prevail as a matter of law.’”).
17
   Brooke Group Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 242 (U.S. 1993).


                                                    3
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Ruffino’s left MCA was blocked long before he presented to StoneCrest Medical Center

on February 17, 2016, and there was nothing that could be done to change his

condition. Summary judgment should be entered in favor of Stonecrest Medical Center.

      “LIKELY BETTER” FALLS SHORT OF ADEQUATE PROOF OF CAUSATION

         Tennessee rejects claims against health care providers based on loss of a

chance for a better or more favorable outcome.18 Permitting recovery for loss of a

chance at a favorable outcome is “not consistent with our standard for causation.”19

         Chief Justice Riley of the Supreme Court of Michigan accurately stated the public

policy of the state of Tennessee:20

         “If the defendant’s acts did not actually cause the plaintiff’s injury, then
         there is no rational justification for requiring the defendant to bear the cost
         of plaintiff’s damages@.health care providers [should not] find themselves
         defending cases simply because a patient fails to improve or where
         serious disease processes are not arrested because another course of
         action could possibly bring a better result.”

The affidavit of the imminently qualified, and fully informed, Jodi Dodds, M.D. offers the

unqualified opinion that no therapeutic option (tPA or referral for an endovascular

procedure) was indicated for Mr. Ruffino on February 17, 2016.                               Her opinion is

grounded on the chronic occlusion of Mr. Ruffino’s left MCA readily apparent on the

December 23, 2015, MR Angiogram performed at University Medical Center.21

         In response, on the critical issue of causation, the high water mark22 from both

Troy Pope, M.D. and Alfred Callahan, M.D. is that Mr. Ruffino would have had “a better



18
   Kilpatrick v. Bryant, 868 S.W.2d 594,602-603 (Tenn. 1993).
19
   Kilpatrick, 868 S.W.2d at 603.
20
   The opinion notes that Riley’s comments “reflects our sentiments in this regard.” 868 S.W.2d at 603.
21
   Affidavit of Jodi Dodds, M.D., Document 41-2, at Paragraph 16
22
   It is implausible to suggest, post-Daubert, that parties will initially present less than their best expert
evidence in the expectation of a second chance should their first try fail. Weisgram v. Marley Co., 528
U.S. 440, 455, 120 S.Ct. 1011, 1021 (2000).


                                                       4
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outcome”23 if Dr. Archer elected to treat Mr. Ruffino’s stroke, which none of the

defendant’s caused, in a different manner.               The plaintiff’s opinion testimony falls well

short of the long-standing, minimum required by Kilpatrick. The moving defendant is

entitled to judgment in its favor as a matter of law on the issue of whether the defendant

proximately caused an injury which would not otherwise have occurred.24

     TISSUE PLASMINOGEN ACTIVATOR ALONE WOULD HAVE DONE NOTHING

         Remarkably unaware of Mr. Ruffino’s critically important Magnetic Resonance

Angiogram on December 23, 2015, emergency department physician Troy Pope, M.D.,

and internist Alfred Callahan, M.D. together, nearly identically, criticize Clark Archer,

M.D. for failing to “initiate the administration of tPA and arrange for transfer to a

comprehensive stroke center for additional treatment, which likely would have included

an endovascular thrombectomy.” This criticism is the affirmative concession that the

presence, or absence, of tPA alone did not proximately cause an outcome which would

not otherwise have occurred.25 Fed. R. Civ. P. 56(g) encourages the Court to identify

material facts not genuinely in dispute, and treat the fact as established in this case.

         At a minimum, due to Plaintiffs’ opinion witnesses’ concession that a

thrombectomy would have been necessary in conjunction with tPA, the Court should

expressly find that tPA alone would not have changed the outcome in this case.

                                             CONCLUSION

         In conclusion, StoneCrest’s Motion for Summary Judgment should be granted

because Plaintiffs fail to create a genuine issue of material fact on causation.



23
   Affidavit of Dr. Pope, Doc. 46-1, at ¶¶15-17, 19. Affidavit of Dr. Callahan, Doc. 46-2, at ¶¶12-14, 16.
24
   Tenn. Code Ann. §29-26-115(a)(3).
25
   Id.


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                                                  Respectfully submitted,

                                                  GIDEON, COOPER & ESSARY, PLC

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                                                  Tennessee, Inc. d/b/a StoneCrest
                                                  Medical Center




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been furnished, by
electronic means via the Court’s electronic filing system, this 3rd day of January 2018 to
the following:

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